B 27 (Official Form 27) (12/13)

UNITED STATES BANKRUPTCY COURT

District of OREGON _
ELBERT GARBODEN

Inre SHERRY GARBODEN

Debtor Case No, _15-35133rld7
Chapter 7

REAFFIRMATION AGREEMENT COVER SHEET

This form must be completed in its entirety and filed, with the reaffirmation agreement attached, within the
time set under Rule 4008. It may be filed by any party to the reaffirmation agreement.

1. Creditor’s Name: LES SCHWAB TIRE CENTERS OF PORTLAND, INC.

2. Amount of the debt subject to this reaffirmation agreement:
$ 1,114.74 on the date of bankruptcy $ _1:14-74 _ to be paid under reaffirmation agreement

3. Annual percentage rate of interest: 18 %prior to bankruptcy
18.00 % under reaffirmation agreement (_x Fixed Rate _ Adjustable Rate)

4, Repayment terms (if fixed rate): $ 75 per month for 17 months

5. Collateral, if any, securing the debt: Current market value: $ _ 422.00
Description: 2) TIRES

6. Does the creditor assert that the debt is nondischargeable? _ Yes * No
(If yes, attach a declaration setting forth the nature of the debt and basis for the contention that the debt is
nondischargeable.)

Debtor’s Schedule I and J Entries Debtor’s Income and Expenses
as Stated on Reaffirmation Agreement
7A. Total monthly income from $5,576.00 7B. Monthly income from all $5,576.00
Schedule I, line 12 sources after payroll deductions
8A. Total monthly expenses $5,576.00 8B. Monthly expenses $ 5,576.00
from Schedule J, line 22
9A. Total monthly payments on $0.00 9B. Total monthly payments on $9.00
reaffirmed debts not listed on reaffirmed debts not included in
Schedule J monthly expenses
10B. Net monthly income $ 0.00

(Subtract sum of lines 8B and 9B from
line 7B. If total is less than zero, put the
number in brackets.)

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11. Explain with specificity any difference between the income amounts (7A and 7B):

12. Explain with specificity any difference between the expense amounts (8A and 8B):

If line 11 orl2 is completed, the undersigned debtor, and joint debtor if applicable, certifies that any
explanation contained on those lines is true and correct.

Signature of Debtor (only required if Signature of Joint Debtor (if applicable, and only
line 11 or 12 is completed) required if line 11 or 12 is completed)
Other Information

O_— Check this box if the total on line 10B is less than zero. If that number is less than zero, a presumption
of undue hardship arises (unless the creditor is a credit union) and you must explain with specificity the
sources of funds available to the Debtor to make the monthly payments on the reaffirmed debt:

Was debtor represented by counsel during the course of negotiating this reaffirmation agreement?
Yes No

If debtor was represented by counsel during the course of negotiating this reaffirmation agreement, has
counsel executed a certification (affidavit or declaration) in support of the reaffirmation agreement?
Yes No

FILER’S CERTIFICATION

I hereby certify that the attached agreement is a true and correct copy of the reaffirmation agreement
between the parties identified on this Reaffirmation OR A CAS

Signature (] mh
Chris Relf, Les Schwab Tire Cent f Portland, Inc

Print/Type Name & Signer’s Relation to Case

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Check one.
O Presumption of Undue Hardship
No Presumption of Undue Hardship
See Debtor's Statement in Support of Reaffirmation,
Part II below, to determine which box to check.

UNITED STATES BANKRUPTCY COURT
District of OREGON
ELBERT GARBODEN
In re SHERRY GARBODEN . Case No. _15-35133rld7
Debtor

Chapter 7

REAFFIRMATION DOCUMENTS

LES SCHWAB TIRE CENTERS OF PORTLAND, INC.
PO BOX 5350; BEND, OR 97708

O Check this box if Creditor is a Credit Union

Name of Creditor:

PART I. REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation
Agreement, you must review the important disclosures, instructions, and definitions found
in Part V of this form.

. a 5 . Purchase Money Security Interest
A. Brief description of the original agreement being reaffirmed:

For example, auto loan

B. AMOUNT REAFFIRMED: Rimini

The Amount Reaffirmed is the entire amount that you are agreeing to pay. This
may include unpaid principal, interest, and fees and costs (if any) arising on or
before _, which is the date of the Disclosure Statement
portion of this form (Part V).

See the definition of “Amount Reaffirmed” in Part V, Section C below.

C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is
18.00 %

See definition of “Annual Percentage Rate” in Part V, Section C below.
This is a (check one) ] Fixed rate O Variable rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual
Percentage Rate disclosed here.

D. Reaffirmation Agreement Repayment Terms (check and complete one):

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N $ 75 per month for 17 months starting on 99/15/16

qo Describe repayment terms, including whether future payment amount(s) may be
different from the initial payment amount.

E. Describe the collateral, if any, securing the debt:

Description: 2) TIRES
Current Market Value $ 422.00

F. Did the debt that is being reaffirmed arise from the purchase of the collateral described
above?

Yes. What was the purchase price for the collateral? $ 475.00

[} No. What was the amount of the original loan? $

G. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms
on the reaffirmed debt and any related agreement:

Terms as ofthe Terms After
Date of Bankruptcy Reaffirmation
Balance due (including
fees and costs) $ 1,114.74 $ 1,114.74
Annual Percentage Rate 18 % 18.00 %
Monthly Payment $ 75.00 $ 1S

H. Xi Check this box if the creditor is agreeing to provide you with additional future credit in
connection with this Reaffirmation Agreement. Describe the credit limit, the Annual

Percentage Rate that applies to future credit and any other terms on future purchases and
advances using such credit; As !ong as debtor complies with creditor terms and conditions, creditor will honor a credit

limit equal to the balance reaffirmed herein. If special payment arrangements have been made, and at any time additional

charges are added to this account, payments and interest will default back to the original contract terms.

PART IT. DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION
AGREEMENT

A. Were you represented by an attorney during the course of negotiating this agreement?
Check one. Yes [} No

B. Is the creditor a credit union?
Check one. © Yes f1No

C. If your answer to EITHER question A. or B. above is “No,” complete 1. and 2. below.

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1. Your present monthly income and expenses are:

a. Monthly income from all sources after payroll deductions

(take-home pay plus any other income) $ 5. Slo.

b. Monthly expenses (including all reaffirmed debts except

this one) $ 5, DOL. °

o
c. Amount available to pay this reaffirmed debt (subtract b. from a.) $ 75. ‘=

o
d. Amount of monthly payment required for this reaffirmed debt ¢ 75. °-

If the monthly payment on this reaffirmed debt (line d.) is greater than the amount you
have available to pay this reaffirmed debt (line c.), you must check the box at the top of
page one that says “Presumption of Undue Hardship.” Otherwise, you must check the
box at the top of page one that says “No Presumption of Undue Hardship.”

2. You believe that this reaffirmation agreement will not impose an undue hardship on you
or your dependents because:

Check one of the two statements below, if applicable:

i You can afford to make the payments on the reaffirmed debt because your
monthly income is greater than your monthly expenses even after you include in
your expenses the monthly payments on all debts you are reaffirming, including
this one.

Oo You can afford to make the payments on the reaffirmed debt even though your
monthly incorhe is less than your monthly expenses after you include in your
expenses the monthly payments on all debts you are reaffirming, including this
one, because:

Use an additional page if needed for a full explanation.

D. If your answers to BOTH questions A. and B. above were “Yes,” check the following
statement, if applicable:

Oo You believe this Reaffirmation Agreement is in your financial interest and you
can afford to make the payments on the reaffirmed debt.

Also, check the box at the top of page one that says “No Presumption of Undue Hardship.”

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PART III. CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES
I hereby certify that:

(1) I agree to reaffirm the debt described above.

(2) Before signing this Reaffirmation Agreement, I read the terms disclosed in this
Reaffirmation Agreement (Part I) and the Disclosure Statement, Instructions and
Definitions included in Part V below;

(3) The Debtor’s Statement in Support of Reaffirmation Agreement (Part I above) is
true and complete;

(4) I am entering into this agreement voluntarily and am fully informed of my rights
and responsibilities; and

(5) I have received a copy of this completed and signed Reaffirmation Documents
form.

SIGNATURE(S) (If this is a joint Reaffirmation Agreement, both debtors must sign.):
Date 12/07/2015 Signature CA 4 Jon.

Debtor

Date Signature

Joint Debtor, if any

Reaffirmation Agreement Terms Accepted by Creditor:
LES SCHWAB TIRE CENTERS OF
Creditor PORTLAND, INC. PO BOX 5350; BEND, OR 97708

Print Name Address

Chris Reff OR. A (CAL 12/07/2015
“T) : [ )

Print Name of Representative Date

PART IV. CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY)

To be filed only if the attorney represented the debtor during the course of negotiating this agreement.

I hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by
the debtor; (2) this agreement does not impose an undue hardship on the debtor or any dependent
of the debtor; and (3) I have fully advised the debtor of the legal effect and consequences of this
agreement and any default under this agreement.

A presumption of undue hardship has been established with respect to this agreement. In my
opinion, however, the debtor is able to make the required payment.

Check box, if the presumption of undue hardship box is checked on page 1 and the creditor is not
a Credit Union.

Date \A\ WU Signature of Debtor’s Attorney _/ Lu Lil { f Xe if oe

Print Name of Debtor’s Attorney KACHELLE BAXTER

PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

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Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation
Agreement (Part I above) and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to
make sure the decision is in your best interest. If these steps, which are detailed in the
Instructions provided in Part V, Section B below, are not completed, the Reaffirmation
Agreement is not effective, even though you have signed it.

A.

DISCLOSURE STATEMENT

What are your obligations if you reaffirm a debt? A reaffirmed debt remains your
personal legal obligation to pay. Your reaffirmed debt is not discharged in your
bankruptcy case. That means that if you default on your reaffirmed debt after your
bankruptcy case is over, your creditor may be able to take your property or your wages.
Your obligations will be determined by the Reaffirmation Agreement, which may have
changed the terms of the original agreement. If you are reaffirming an open end credit
agreement, that agreement or applicable law may permit the creditor to change the terms
of that agreement in the future under certain conditions.

Are you required to enter into a reaffirmation agreement by any law? No, you are
not required to reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your
best interest. Be sure you can afford the payments that you agree to make.

What if your creditor has a security interest or lien? Your bankruptcy discharge does
not eliminate any lien on your property. A ‘‘lien’’ is often referred to as a security
interest, deed of trust, mortgage, or security deed. The property subject to a lien is often
referred to as collateral. Even if you do not reaffirm and your personal liability on the
debt is discharged, your creditor may still have a right under the lien to take the collateral
if you do not pay or default on the debt. If the collateral is personal property that is
exempt or that the trustee has abandoned, you may be able to redeem the item rather than
reaffirm the debt. To redeem, you make a single payment to the creditor equal to the
current value of the collateral, as the parties agree or the court determines.

How soon do you need to enter into and file a reaffirmation agreement? If you
decide to enter into a reaffirmation agreement, you must do so before you receive your
discharge. After you have entered into a reaffirmation agreement and all parts of this
form that require a signature have been signed, either you or the creditor should file it as
soon as possible. The signed agreement must be filed with the court no later than 60 days
after the first date set for the meeting of creditors, so that the court will have time to
schedule a hearing to approve the agreement if approval is required. However, the court
may extend the time for filing, even after the 60-day period has ended.

Can you cancel the agreement? You may rescind (cancel) your Reaffirmation
Agreement at any time before the bankruptcy court enters your discharge, or during the
60-day period that begins on the date your Reaffirmation Agreement is filed with the
court, whichever occurs later. To rescind (cancel) your Reaffirmation Agreement, you
must notify the creditor that your Reaffirmation Agreement is rescinded (or canceled).
Remember that you can rescind the agreement, even if the court approves it, as long as
you rescind within the time allowed.

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6. When will this Reaffirmation Agreement be effective?

a. If you were represented by an attorney during the negotiation of your
Reaffirmation Agreement and

i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes
effective when it is filed with the court unless the reaffirmation is presumed to be
an undue hardship. If the Reaffirmation Agreement is presumed to be an undue
hardship, the court must review it and may set a hearing to determine whether you
have rebutted the presumption of undue hardship.

ii. if the creditor is a Credit Union, your Reaffirmation Agreement becomes
effective when it is filed with the court.

b. If you were not represented by an attorney during the negotiation of your
Reaffirmation Agreement, the Reaffirmation Agreement will not be effective unless the
court approves it. To have the court approve your agreement, you must file a motion.
See Instruction 5, below. The court will notify you and the creditor of the hearing on
your Reaffirmation Agreement. You must attend this hearing, at which time the judge
will review your Reaffirmation Agreement. Ifthe judge decides that the Reaffirmation
Agreement is in your best interest, the agreement will be approved and will become
effective. However, if your Reaffirmation Agreement is for a consumer debt secured by
a mortgage, deed of trust, security deed, or other lien on your real property, like your
home, you do not need to file a motion or get court approval of your Reaffirmation
Agreement.

7. What if you have questions about what a creditor can do? If you have questions
about reaffirming a debt or what the law requires, consult with the attorney who helped
you negotiate this agreement. If you do not have an attorney helping you, you may ask
the judge to explain the effect of this agreement to you at the hearing to approve the
Reaffirmation Agreement. When this disclosure refers to what a creditor “may” do, it is
not giving any creditor permission to do anything. The word “may” is used to tell you
what might occur if the law permits the creditor to take the action.

B. INSTRUCTIONS

1. Review these Disclosures and carefully consider your decision to reaffirm. If you want
to reaffirm, review and complete the information contained in the Reaffirmation
Agreement (Part I above). If your case is a joint case, both spouses must sign the
agreement if both are reaffirming the debt.

2. Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part II above).
Be sure that you can afford to make the payments that you are agreeing to make and that
you have received a copy of the Disclosure Statement and a completed and signed
Reaffirmation Agreement.

3. Ifyou were represented by an attorney during the negotiation of your Reaffirmation
Agreement, your attorney must sign and date the Certification By Debtor’s Attorney
(Part IV above).

4. You or your creditor must file with the court the original of this Reaffirmation
Documents packet and a completed Reaffirmation Agreement Cover Sheet (Official
Bankruptcy Form 27).

5. Ifyou are not represented by an attorney, you must also complete and file with the court
a separate document entitled “Motion for Court Approval of Reaffirmation Agreement”
unless your Reaffirmation Agreement is for a consumer debt secured by a lien on your
real property, such as your home. You can use Form B240B to do this.

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C. DEFINITIONS

1. “Amount Reaffirmed” means the total amount of debt that you are agreeing to pay
(reaffirm) by entering into this agreement. The total amount of debt includes any unpaid
fees and costs that you are agreeing to pay that arose on or before the date of disclosure,
which is the date specified in the Reaffirmation Agreement (Part I, Section B above).
Your credit agreement may obligate you to pay additional amounts that arise after the
date of this disclosure. You should consult your credit agreement to determine whether
you are obligated to pay additional amounts that may arise after the date of this
disclosure.

2. “Annual Percentage Rate” means the interest rate on a loan expressed under the rules
required by federal law. The annual percentage rate (as opposed to the “stated interest
rate”) tells you the full cost of your credit including many of the creditor’s fees and
charges. You will find the annual percentage rate for your original agreement on the
disclosure statement that was given to you when the loan papers were signed or on the
monthly statements sent to you for an open end credit account such as a credit card.

3. “Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)(1)(A)(iv).

It is owned and controlled by and provides financial services to its members and typically
uses words like “Credit Union” or initials like “C.U.” or “F.C.U.” in its name.

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